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                             UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF KENTUCKY

ROBERT D. SHAVER                               )
                                               )
               PLAINTIFF                       )
                                               )
v.                                             )
                                                 CIVIL ACTION NO. _______________
                                                                    3:18-CV-272-CHB
                                               )
LIFE INSURANCE COMPANY OF NORTH                )
AMERICA                                        )
                                               )
               DEFENDANT                       )



                            DEFENDANT’S NOTICE OF REMOVAL

       Pursuant to 28 U.S.C. §§ 1331, 1441, and 1446, Defendant Life Insurance Company

of North America, by counsel, hereby files this Notice of Removal to the United States

District Court for the Western District of Kentucky, at Louisville, and states as follows:

       1.      On or about March 8, 2018, the Complaint in Case No. 18‐CI‐392 was filed in

Hardin Circuit Court by Plaintiff against Defendant.           The Summons, along with the

Complaint, was served by Secretary of State on or about April 16, 2018 on Defendant. A

copy of the Summons and Complaint, is attached hereto as Exhibit A and constitutes all

process, pleadings and orders served to date in this action.

       2.      This Notice of Removal is filed within thirty (30) days after receipt of a copy

of the Complaint and Summons in this action and Plaintiff is estopped from seeking remand

of this matter on this basis.

       3.      This action is of a civil nature arising from Plaintiff’s claim for an alleged

breach of contract and involving a claim for disability benefits pursuant to an employee
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welfare benefit plan, specifically a short‐term and long‐term disability plan established by

Plaintiff’s employer. Plaintiff claims that he is entitled to disability benefits under the plan.

                                FEDERAL QUESTION JURISDICTION

       4.     This is an action over which this Court has original federal question

jurisdiction under 28 U.S.C. § 1331 and 29 U.S.C. §§ 1132 and 1144, inasmuch as the

Complaint claims disability benefits provided by an employee welfare benefit plan,

established or maintained by Plaintiff’s employer and regulated by the Employee

Retirement Income Security Act of 1974, as amended (“ERISA”), 29 U.S.C. §§ 1001, et seq.

In the Complaint, Plaintiff explicitly seeks benefits provided under an employee disability

benefit plan, including a group insurance policy VDT‐980116, which insures long‐term

disability benefits under an employee benefit plan established and maintained by her

employer, Science Applications International Corporation (Cmplt., ¶6).

       5.     ERISA preempts Plaintiff’s state law claims and causes of action and provides

exclusive federal remedies for resolution of claims relating to plan benefits by plan

participants and beneficiaries, 29 U.S.C. §§ 1132 and 1144. Therefore, Plaintiff’s claims are

removable to this Court pursuant to 29 U.S.C. § 1441 as an action founded upon a claim or

right arising out of the laws of the United States. An action relating to benefits provided by

an ERISA plan is properly removable, even if the defense of ERISA preemption does not

appear on the face of the Complaint. See Metropolitan Life Ins. Co. v. Taylor, 481 U.S. 58, 62‐

63, 107 S. Ct. 1542 (1987).

       WHEREFORE, Defendant, Life Insurance Company of North America hereby gives

notice of this removal from the Hardin Circuit Court to the United States District Court for

the Western District of Kentucky, at Louisville.



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                                                   Respectfully submitted,



                                                   /s/ Mitzi D. Wyrick
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                                                   Counsel for Life Insurance Company of
                                                   North America

                                 CERTIFICATE OF SERVICE

        I hereby certify that on April 30, 2018, I electronically filed the foregoing with the
clerk of the court by using the CM/ECF system, which will send a notice of electronic filing
to the following:

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Counsel for Plaintiff


                                            /s/ Mitzi D. Wyrick
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